     Case 2:16-cv-00238-D Document 16 Filed 01/12/17         Page 1 of 8 PageID 66


                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION

KIMBERLY D. POLLARD and                     §
J.S. (MINOR CHILD),                         §
                                            §
        Plaintiffs,                         §
                                            §    Case No. 2:16-cv-000238-J
v.                                          §
                                            §
CHURCH OF GOD IN CHRIST, INC.;              §
CHURCH OF GOD IN CHRIST,                    §
BOARD OF BISHOPS; and BISHOP                §
JAMES L’KEITH JONES                         §
                                            §
        Defendants.                         §




                          CHURCH OF GOD IN CHRIST, INC.’S
                               ORIGINAL ANSWER




        Defendant, Church of God in Christ, Inc. (the Church), files its Original Answer

as follows:

                                            I.

               The Church’s Answer to Plaintiffs’ Original Complaint

     1. The Church is without knowledge or information sufficient to form a belief as

        to the allegations in this paragraph.




CHURCH OF GOD IN CHRIST, INC.’S
ORIGINAL ANSWER - Page 1
   Case 2:16-cv-00238-D Document 16 Filed 01/12/17         Page 2 of 8 PageID 67


   2. The Church is without knowledge or information sufficient to form a belief as

      to the allegations in this paragraph.

   3. The Church admits the allegations in this paragraph.

   4. The Church denies that the Board of Bishops is a separate entity that may be

      served with process. Pursuant to Federal Rule of Civil Procedure 9, the

      Church specifically denies the legal existence of the Board of Bishops as a

      party that may be sued. The Board of Bishops is an ecclesiastical body of the

      Church made up of Bishops who oversee the ecclesiastical activities of local

      churches in various regions of the United States and around the world. The

      Board of Bishops are not statutory officers of the Church, and they are not a

      corporate board of directors. They are purely ecclesiastical.

   5. The Church is without knowledge or information sufficient to form a belief as

      to who represents Bishop L’Keith Jones and whether that attorney is

      authorized to accept service of process.

Jurisdiction and Venue

   6. The Church is without knowledge or information sufficient to form a belief as

      to the state where Plaintiffs reside. The Church admits that Plaintiffs are

      seeking more than $75,000 in damages, but denies that it is liable to

      Plaintiffs.



CHURCH OF GOD IN CHRIST, INC.’S
ORIGINAL ANSWER - Page 2
   Case 2:16-cv-00238-D Document 16 Filed 01/12/17             Page 3 of 8 PageID 68


   7. The Church is without knowledge or information sufficient to form a belief as

      to the appropriate venue of this case. The Church denies that it has “multiple

      churches under its control in this judicial district.”

Background Facts

   8. The Church is without knowledge or information sufficient to form a belief as

      to the allegations in this paragraph.

   9. The Church is without knowledge or information sufficient to form a belief as

      to the allegations in this paragraph.

   10. The Church admits that it has been an active domestic Tennessee nonprofit

      corporation. The Church is unclear what the remaining allegations in this

      paragraph mean and, thus, denies them.

   11. The Church denies that the Board of Bishops is an entity, and it denies that

      Bishop L’Keith Jones was its employee. The Church further denies that Bishop

      L’Keith Jones was “at all times” acting as its agent. The Church denies the

      remaining allegations in this paragraph.

   12. The Church is without knowledge or information sufficient to form a belief as

      to the allegations in this paragraph.

   13. The Church is without knowledge or information sufficient to form a belief as

      to the allegations in this paragraph.



CHURCH OF GOD IN CHRIST, INC.’S
ORIGINAL ANSWER - Page 3
   Case 2:16-cv-00238-D Document 16 Filed 01/12/17         Page 4 of 8 PageID 69


   14. The Church admits that it became aware of Plaintiffs’ allegations in March

      2016 and that it pursued certain ecclesiastic procedures. It denies the

      remaining allegations in this paragraph.

First Claim of Relief (Negligence/Respondeat Superior)

   15. The Church incorporates its responses to paragraphs 8 through 14.

   16. The Church denies the allegations in this paragraph.

   17. The Church admits that an internal grievance proceeding was started.

   18. The Church admits that an internal grievance proceeding was started.

   19. The Church admits that an internal grievance proceeding was started.

   20. The Church admits that an internal grievance proceeding was started.

   21. The Church admits that an internal, ecclesiastical trial proceeding was not

      started at that time.

   22. The Church denies the allegations in this paragraph.

Second Claim for Relief (Sexual Abuse of a Child/Respondeat Minor)

   23. The Church incorporates its responses to paragraphs 8 through 14.

   24. The Church admits that its Bishops have certain enumerated ecclesiastic

      duties, but it denies that these duties impart a heightened or special duty

      under Texas law.

   25. The Church is without knowledge or information sufficient to form a belief as

      to the allegations in this paragraph.
CHURCH OF GOD IN CHRIST, INC.’S
ORIGINAL ANSWER - Page 4
   Case 2:16-cv-00238-D Document 16 Filed 01/12/17          Page 5 of 8 PageID 70


   26. The Church denies that Bishop L’Keith Jones was its employee or was acting

      within this course and scope of any agency. The Church is without knowledge

      or information sufficient to form a belief as to the allegations in this

      paragraph.

   27. The Church is without knowledge or information sufficient to form a belief as

      to the Plaintiffs’ allegations of “sexual molestation” in this paragraph. The

      Church denies the remaining allegations in this paragraph.

   28. The Church is without knowledge or information sufficient to form a belief

      as to the allegations in this paragraph.

Third Claim for Relief (Intentional Infliction of Emotional Distress/Respondeat

Minor)

   29. The Church incorporates its responses to paragraphs 8 through 14.

   30. The Church is without knowledge or information sufficient to form a belief as

      to the allegations in this paragraph.

   31. The Church denies the allegations in this paragraph.

Fourth Claim of (sic) Relief (Intentional Infliction of Emotional

Distress/Respondeat Minor)

   32. The Church incorporates its responses to paragraphs 8 through 14.

   33. The Church is without knowledge or information sufficient to form a belief as

      to the allegations in this paragraph.
CHURCH OF GOD IN CHRIST, INC.’S
ORIGINAL ANSWER - Page 5
   Case 2:16-cv-00238-D Document 16 Filed 01/12/17            Page 6 of 8 PageID 71


   34. The Church denies the allegations in this paragraph.

                                           II.

                        The Church’s Affirmative Defenses

   35. This action is barred by the statute of limitations.

   36. Kimberly Pollard has failed to take reasonable steps to mitigate her damages.

   37. Plaintiffs’ claims against the Board of Bishops are barred, in whole or in part,

      because the Board of Bishops is not a legal entity.

   38. Plaintiffs’ claims against the Board of Bishops are barred, in whole or in part,

      because the Board of Bishops is not a proper party to this lawsuit.

   39. Further, even if Plaintiff Kimberly Pollard was injured, which the Church

      specifically denies, the Plaintiff’s own conduct was negligent, and this

      conduct proximately caused the occurrence in question.

   40. Plaintiff Kimberly Pollard’s claims are barred, in whole or in part by the

      doctrine of laches.

   41. Even if Bishop L’Keith Jones proximately caused any damage to Plaintiffs,

      which the Church specifically denies, the Church is not liable or responsible

      for Bishop L’Keith Jones’s acts in that he was not acting with the course and

      scope of any employment provided by the Church and the Church specifically

      denies that it had any right to control the activities of Bishop L’Keith Jones.

      Even if his conduct on towards Plaintiffs was the foreseeable and proximate
CHURCH OF GOD IN CHRIST, INC.’S
ORIGINAL ANSWER - Page 6
    Case 2:16-cv-00238-D Document 16 Filed 01/12/17         Page 7 of 8 PageID 72


       cause of Plaintiffs’ injuries, which the Church denies, that conduct was not

       the foreseeable result of the Church’s conduct in any way.

   42. The Church did not cause the occurrence in question or the Plaintiffs’ alleged

       injuries, in that the sole proximate cause of the occurrence in question was

       an act or omission of another person.

   43. Plaintiff has failed to state a claim upon which relief may be granted as to JS.

Specific Denial as to the Board of Bishops Legal Existence

   44. Pursuant to Federal Rule of Civil Procedure 9, the Church specifically denies

       the legal existence of the Board of Bishops as a party that may be sued. The

       Board of Bishops is an ecclesiastical body of the Church made up of Bishops

       who oversee the ecclesiastical activities of local churches in various regions

       of the United States and around the world. The Board of Bishops are not

       statutory officers of the Church, and they are not a corporate board of

       directors. They are purely ecclesiastical.

                                           III.

                                        Conclusion

       In conclusion, the Church requests judgment of the court that Plaintiffs take

nothing by this suit, and that Church recover all costs together with such other and

further relief it may be entitled to.



CHURCH OF GOD IN CHRIST, INC.’S
ORIGINAL ANSWER - Page 7
   Case 2:16-cv-00238-D Document 16 Filed 01/12/17             Page 8 of 8 PageID 73


                                          Respectfully submitted,



                                      By: /s/Justin L. Jeter
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                                          ATTORNEY FOR DEFENDANT



                             CERTIFICATE OF SERVICE

      This is to certify that a copy of the foregoing has been filed with the Clerk of

Court on January 12, 2017, using the CM/ECF system and was served on the

following:

Jerry G. Matthews
300 West Bedford Street
Dimmitt, TX 79027

Ron McLaurin
1401 Crickets Avenue
Lubbock, TX 79401



                                      By: /s/Justin L. Jeter
                                          Justin L. Jeter




CHURCH OF GOD IN CHRIST, INC.’S
ORIGINAL ANSWER - Page 8
